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                  HIGHLY CONFIDENTIAL-ATTORNEY’S EYES ONLY

November 27, 2024

VIA EMAIL

Greg Andres, Esq.
Davis Polk and Wardwell LLP
450 Lexington Avenue
New York, NY 10017

Re:    WhatsApp LLC et al. v. NSO Group Technologies Ltd. et al., 4:19-cv-07123-PJH

Counsel:

       This letter is to notify Plaintiffs that John “Jay” Town, previously designated by NSO
pursuant to Federal Rule of Civil Procedure 26(a)(2), has given notice that he needs to withdraw
from this matter and will be unavailable to testify at the March 3, 2024, trial of this matter because
he will be beginning a presidentially-appointed position in the federal government, which he
expects to commence in January 2025.

        Parties may substitute experts for good cause, which standard “primarily considers the
diligence of the party seeking” the substitution. U.S. ex rel. Agate Steel, Inc. v. Jaynes Corp., 2015
WL 1546717 (D. Nev. 2015) (finding a 2-3 month delay to be “reasonably diligent”); In Re
Northrop Grumman Corp. ERISA Lit., 2016 WL 6826171 (C.D. Cal. 2016).

       NSO intends to substitute attorney Joshua Minkler for Mr. Town. Mr. Minkler will provide
a Rule 26 disclosure and be made reasonably available for deposition. Mr. Minkler’s written
disclosure will not be contrary to or inconsistent with Mr. Town’s written disclosure. Jaynes
Corp., 2015 WL 1546717 at *2.

        NSO requests that Plaintiffs agree to a stipulated motion to permit the substitution
described herein. We are working with Mr. Minkler on his deposition availability. If Mr. Minkler
is unavailable for deposition during the current expert discovery period, the relief requested by
NSO’s contemplated motion would also include a request for an extension of the expert discovery
period for the limited purpose of permitting a deposition of Mr. Minkler.
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Greg Andres, Esq.
November 27, 2024
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Please provide your position on the foregoing. Thank you.



                                           Very truly yours,



                                           Joseph N. Akrotirianakis

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       k&snso@kslaw.com
